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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)

                                                     )
                                                     )
 ROCK SPRING PLAZA II, LLC,
                                                     )
        Plaintiff,                                   )
                                                     )
        v.                                           )   Civil Action No. 20-cv-01502-PJM
 INVESTORS WARRANTY OF AMERICA,                      )
 LLC, et al.,                                        )
                                                     )
        Defendants.                                  )
                                                     )


   DEFENDANT ROCK SPRINGS DRIVE LLC’S NOTICE OF WITHDRAWAL OF
        MOTION TO QUASH SUBPOENA TO NONPARTY APRIO LLP

       After it received Defendant Rock Springs Drive LLC’s (RSD) Motion to Quash in this

Court (Dkt. 345) and nonparty Aprio LLP’s motion to quash in the U.S. District Court for the

Northern District of Georgia, Plaintiff withdrew its subpoena to Aprio. Discovery in this case has

now closed. Because Plaintiff withdrew its subpoena to Aprio and discovery has closed, RSD

withdraws its motion to quash the subpoena to Aprio.

Dated: September 11, 2023
                                                     /s/ Sara E. Kropf
                                                     Sara E. Kropf (Bar No. 26818)
                                                     Rebecca Guiterman (pro hac vice)
                                                     Kropf Moseley PLLC
                                                     1100 H Street NW, Suite 1220
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                                                    Attorneys for Rock Springs Drive LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of September 2023, the foregoing notice was served

through the Court’s electronic filing system.

                                                    /s/ Sara E. Kropf
                                                    Sara E. Kropf




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